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                EXHIBIT B
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                                                          U.S. Department of Justice

                                                          Matthew M. Graves
                                                          United States Attorney

                                                          District of Columbia

                                                          Patrick Henry Building
                                                          601 D Street, N.W.
                                                          Washington, D.C. 20530




                                                       BY EMAIL

                                                       January 10, 2023

John P. Rowley III, Esq.
John S. Irving, Esq.

                                       Re:     United States v. Navarro

Dear Messrs. Rowley and Irving:

       We write in response to your January 6, 2023 letter, in which you seek certain materials.

        First, you requested transcripts and “related materials” generated by the Select Committee
to Investigate the January 6th Attack on the United States Capitol (the “Committee’). You state
that you are entitled to these materials to establish the “reasonableness of [your client’s] belief that
Former President Trump ha[d] invoked executive privilege.” As an initial matter, a mistaken
reliance on a claim of executive privilege is not a defense. In any event, the reasonableness of
your client’s belief – assuming such belief has any relevance to this prosecution – can only be
assessed with respect to actions of other witnesses with which he was familiar. Accordingly,
actions about which he was ignorant are not relevant. You also state that you need these materials
in relation to a “potential defense of selective prosecution.” You already know the identities of
the individuals whom the Committee referred for contempt prosecution but were not charged.
Information about other individuals, who were not referred, is irrelevant to any claim of selective
prosecution. As the Court has noted, “the Select Committee does not make prosecutorial decisions,
the Department does.” Mem Op. and Order, dated September 12, 2002, at 6 [Dkt. 55]. In sum,
we will not be providing the requested materials.

        Second, you requested the government’s application for a compulsion order for a grand
jury witness and materials related to an authorizing official. The defendant, however, cannot
challenge the basis of the government’s request for a compulsion order. See, e.g,, United States
v. Trammel, 583 F.2d 1166, 1168 (10th Cir. 1978), aff'd, 445 U.S. 40 (1980) (“A defendant has no
standing to contest the propriety of the grant of immunity to a witness.”); United States v.
Hathaway, 534 F.2d 386, 402 (1st Cir. 1976) (“a challenge to a grant of immunity, like assertion
of the privilege against self-incrimination, is personal; defendants are without standing to contest
the legal sufficiency of the granting of immunity by the Government to these witnesses.”).
Moreover, whether to seek a compulsion order lies entirely within the purview of the Executive
Branch. The Court performs only a ministerial task with respect to the government’s request for
a compulsion order. See, e.g., United States v. Taylor, 728 F.2d 930, 934 (7th Cir. 1984) (“Both
the exclusive nature of Congress’s delegation and the fact that the balancing process is wholly
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within the expertise of the executive branch foreclose the federal courts from taking more than a
ministerial role in prosecutorial immunity decisions that are made properly under 18 U.S.C. §
6003.”); United States v. Leyva, 513 F.2d 774, 776 (5th Cir. 1975) (“since the court’s duties in
granting [a request for a compulsion order] are largely ministerial, when the order is properly
requested the judge has no discretion to deny it.”). 1 Accordingly the requested materials are not
relevant, and we will not be producing them.


                                                     Sincerely,

                                                     MATTHEW M. GRAVES
                                                     UNITES STATES ATTORNEY


                                                     ________/s/__________
                                                     Elizabeth Aloi
                                                     John Crabb Jr.
                                                     Assistant U.S. Attorneys




1
         Also, the basis of witness’s potential criminal liability is of no moment, since, among other reasons, the
government does not intend to call the witness at trial; thus we have no obligation to provide potentially impeaching
information for this individual. See Giglio v. United States, 405 U.S. 150 (1972).
                                                         2
